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IN THE UNITED STATES DISTR_ICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION

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UNITED STATES OF AMERICA, *
P]aintiff, *

* CR. NO. O4-20299-D
vs. *
DONNlE JOHNSON, *
Defendant. *

 

ORDER ON MOTION TO SUPPRESS (DOCUMENT NO. 35)

 

Before the Court is Defendant’s motion to suppress evidence obtained as a result of a search
of a property in which Defendant had a possessory interest The Court conducted an evidentiary
hearing on March 31, 2005, and took the matter under advisement For the reasons set forth herein,

Defendant’s motion is granted

FACTS

 

On February 28, 2004, officers observed Defendant Walking along a path through a field in
the downtown area. Defendant was known to officers and based on informants’ tips was believed
to have sold crack cocaine from a rooming house at 354/356 Able Street in Memphis. Officers
testified that they saw Def`endant park his car some distance away and begin walking in the direction

of the rooming house. According to officers, their suspicion was aroused when Defendant did not

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park his vehicle in front of the rooming house, as if he did not want anyone to know that he was
there.

When officers saw Defendant approaching their vicinity, they called out to Defendant by
name. Officers placed Defendant against a fence, patted him down, and removed the contents of his
pockets and either placed or threw them on the ground. Next, officers asked where Defendant was
heading Defendant responded that he was going to his uncle’s room at the rooming house on Able
Street. Officers then asked Defendant if he had any weapons or arms, including hand grenades or
rocket launchers. When Defendant answered that he did not, officers asked Defendant, "do you mind
if we go with you," whereupon, officers accompanied Defendant to the rooming house. According
to Officer J ames Goines ("Goines"), Defendant stated, "I just want to let you know before you go
in that l have two guns in the room." Defendant denies ever making such a statement to officers Two
shotguns were found in the room, one of which was reported stolen.

Officer Goines testified that Defendant executed a written consent to search. However, the
Court finds that a genuine question of fact was created from the proof about the timing of the
consent From the proof, it appears more likely than not that the consent was signed after the search
was conducted and the weapons seized.

ANALYSIS
I. Standing or "Legitimate expectation of Privacy"

Rule 4l(e) of the Federal Rules of Criminal Procedure provides that a person alleging an
unlawful search and seizure may move for the suppression of evidence on the ground, among others,
that the property was illegally seized without warrant and in violation of defendant’s Fourth
Amendment right. The initial question is whether a search or seizure (i.e., a violation of a legitimate

expectation of privacy) occurred with respect to the defendant for purposes of establishing standing

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to dispute an infringement ofa personal interest the Fourth Amendment is designed to protect. See
Rakas v. Illinoz's, 439 U.S. 128, 140 (1978). The United States argues that Defendant does not have
standing because he did not have an ownership interest in his uncle’s rooming house apartment, thus,
no expectation of privacy existed in the room where the shotguns were seized The Court rejects
this argument The Court finds that the better analysis begins at the initial search and seizure contact
with Defendant and not at the point where subsequent derivative fruits, e.g., access to room and
discovery of two shotguns, were obtained

Courts have adopted Kalz ’s two-prong inquiry in determining whether a defendant has a
legitimate expectation of privacy, namely, (l) whether defendant had an actual, subjective
expectation ofprivacy; and (2) whether society is ready to find that expectation reasonable Katz v.
Um`tea’ Srates, 389 U.S. 347, 353 (1967). We find that both prongs were met and that nothing
suggests that Defendant waived his privacy rights upon initial contact with the officers.

Officer Goines initial stop ofDefendant was based on l) Defendant’s general reputation as
a drug dealer; 2) being discovered in a high crime area; 3) and failing to park his car in front of what
officers viewed as his home. Officers then observed Defendant walking toward the room on Able.
There is nothing about Defendant’s actions or conduct at this point that establishes a reasonable
particularized suspicion that Defendant was engaged in criminal activity or posed a threat to officers
The officers did not describe any furtive moves by Defendant nor any objects that looked like a
weapon, nor did Defendant flee. The fact ofDefendant’s alleged drug dealing status, standing alone,
does not provide reasonable suspicion to stop and search Defendant lt is reasonable for a person
to expect that engaging in the type of inchoate acts the police observed, without more, would be free
from an officer’s scrutiny or interference Seizing Defendant without articulable facts that the

suspected individual was engaged or about to engage in illegal activity constituted a violation of

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Defendant’s legitimate expectation of privacy. Assuming arguendo that the officers had reasonable
suspicion for a temporary stop and frisk, Defendant still retained a legitimate expectation of privacy
in the contents of the interior pockets of his clothing subsequently searched by the officer.

Next, Plaintiff argues that because Defendant doesn’t have an ownership interest in his
uncle ’s apartment he can not contest the admissibility of the evidence because there is no expectation
of privacy in his uncle’s apartment Plaintiff cites Rakas v. Illl'nois for this purpose. Rakas v. filinois
can be distinguished however, from the case at bar because the defendant in Rakas was a mere
passenger in a car he did not own when officers legally stopped and searched it and found an illegally
possessed sawed-off rifle. Rakas v. Illz`nol`s, 439 U.S. 128, 129 (1978). The defendant in Rakas had
neither ownership nor a possessory interest in the vehicle in which he was a passenger The Rakas
majority noted in its analysis that "[n]one ofthe passengers is said to have had control of the vehicle
or the keys" in determining that the three passengers did not have an expectation of privacy in the
vehicle. Id. at 155. ln this case, the Defendant had a possessory interest in his uncle’s rooming house
residence in that his uncle had given him permission to occupy the room for the evening Further,
Defendant possessed the keys to the locked room. (Plaintiff"s Resp. to Motion to Suppress at p. 7).
Defendant had both access and the right to exclude parties from the premise sufficient to demonstrate
a legitimate expectation of privacy in the area. United Stares v. Salvucci, 448 U.S. 83, 84 (1980) (it
must be asked not merely whether the defendant has a possessory interest in the items seized but also
whether he had an expectation of privacy in the area searched).

F or these reasons, the Court finds Defendant’s legitimate expectation of privacy was

infringed Thus, Defendant has standing to contest admission of the evidence in this matter.

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II. Search and Seizure

The basic purpose of Fourth Amendment prohibition against unreasonable searches and
seizures is to safeguard privacy and security of individuals against arbitrary invasions by
governmental officials Camara v. Mum'cr`pal Court ofCity and Coum‘y ofSan Francisco, 387 U.S.
523 (1967). The Fourth Amendment protects "the right of people to be secure in their persons,
houses, papers, and effects, against unreasonable searches and seizures...," U.S. Const. amend IV,
and "[t]he question of whether an officer has reasonable grounds to 'stop' and 'frisk' falls directly
within the Fourth Amendment‘s proscription against unreasonable searches and seizures." Um'red
States v. Walker, 924 F.2d l, 3 (lst Cir.l99l) (ct`tt`ng Terry v. Ohio, 392 U.S. l (1968)). A
warrantless search is per se unreasonable except for a few well-defined exceptions Katz v. Unired
States, 389 U.S. 347, 357 (1967); United Stares v. Lewt`s, 504 F.2d 92, 100 (6th Cir. 1974). Among
these exceptions are the so-called Terry "stop and frisk“ searches in connection with an investigative
stop. Terry v. Ohr'o, 392 U.S. l (] 968). ln Terry v. th`o, the United States Suprerne Court held that:

[W]here a police officer observes unusual conduct which leads him
reasonably to conclude in li ght of his experience that criminal activity
may be afoot and that the persons with whom he is dealing may be
armed and presently dangerous, where in the course of investigating
this behavior he identifies himself as a policeman and makes
reasonable inquiries, and where nothing in the initial stages of the
encounter serves to dispel his reasonable fear for his own or others’
safety, he is entitled for the protection of himself and others in the
area to conduct a carefully limited search of the outer clothing of such

persons in an attempt to discover weapons which might be used to
assault him.

Ter)y, 392 U.S. at 30-31. Additionally, where a Fourth Arnendment violation has been
asserted, the plaintiff has the burden of provin g that the conditions of a temporary Terry investigative

stop has been meet by a preponderance of the evidence. See Um'red States v. Win)$‘ey, 915 F.2d 212,

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216 (6ch Cir. 1990) (cz`ting Florz`da v. Royer, 460 U.S. 491, 500 (1983) to place the burden of proof
upon the plaintiff).

The initial inquiry is whether officers "have a particularized and objective basis for
suspecting the particular person stopped of criminal activity." UnitedStates v. Cortez, 449 U.S. 41 l,
417-18 (1981); Um`red States v. Sokolow, 490 U.S. 1, 7 (1989). The requirement of particularized
suspicion encompasses two elements See Correz, 449 U.S. at 418. First, the assessment must be
based upon the totality of the circumstances Id.,' see also Um'ted Srares v. Gz'!lz’ard, 847 F.2d 21 , 24
(lst Cir. 1988) (recognizing "that roadside encounters between police and suspects are especially
hazardous."); Michigan v. Long, 463 U.S. 1032, 1049 (1983). Second, that assessment must "arouse
a reasonable suspicion that the particular person being stopped has committed or is about to commit
a crime." See Unz`ted States v. MonterO-Camargo, 208 F.3d 1 122, 1 129-30 (quoting Correz, 449 U.S.
at 418 and Terry, 392 U.S. at 21, n. 18). "The officer must be able to articulate more than an ‘inchoate
and unparticularized suspicion’ or a ‘hunch’ that criminal activity is afoot." Illinois v. Ward!ow, 528
U.S. l 19, 123-24 (2000) (quo¢‘z`ng Terry, 392 U.S. at 27, n.2) ("[t]his demand for specificity in the
information upon which police action is predicated is the central teaching of this Court's Fourth
Amendment jurisprudence"). Though law enforcement officers are not asked to ignore the relevant
characteristics of a neighborhood an individual's presence in an area of expected criminal activity,
standing alone, is not enough to support reasonable, particularized Suspicion that a person is
committing a crime. Id. at 124. Where police rely on information obtained from citizen tips, "an
informant's veracity, reliability and basis of knowledge" are relevant in determining whether the
reasonable suspicion standard has been satisfied Alabama v. Whire, 496 U.S. 325, 328 (1990).
Suitably corroborated informant tips exhibits sufficient indicia of reliability to provide reasonable

suspicion to make an investigatory stop. Florida v. J.L., 529 U.S. 266, 270 (2000). Bef`ore police

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officer places a hand on the person of a citizen in search of anything, the officer must have
constitutionally adequate reasonable grounds for doing so, Sr'bron v. New York, 392 U.S. 40, 63
(1968), and a Terrjy search consists solely of patting of the outer clothes for instruments of assault.
Id. at 65. Lastly, the test for determining if an individual has been seized in Fourth Amendment
terms is whether a reasonable person would feel free to leave under the totality of the circumstances

Florr'da v. Bostr'ck, 501 U.S. 429, 436 (1991).

Notably, in Sr'bron, the companion case to Terry, the defendant was observed by an officer
talking to known drug addicts. Officer had defendant leave a diner after having placed an order and
told defendant “you know what l am after" and then reached into defendant’s pocket to remove
drugs. Sz'bron, 392 U.S. at 45. The Court reversed the defendant’s conviction because this was not
an appropriate Terry frisk and there were no grounds for an investigative stop. ln Florida v. J.L.,
officers received an anonymous call reporting that a young African-American male wearing a plaid
shirt was standing at a bus stop carrying a gun. Florida v. J.L., 529 U.S. at 268. Officers saw him
but saw no gun or unusual movement. ld. With no reason to suspect defendant other than the
anonymous tips, an officer Terry frisked him and found a weapon. Id. The Court affirmed the
judgment of the Florida Supreme Court’s holding that the frisk of defendant was unreasonable Id.
at 269.

ln the case at bar, officers assert that their inquiry was based on information from informants
that Defendant was selling illegal drugs coupled with their prior experience with Defendant Such
a basis for a search can at best be termed generalized lf officers are relying upon particular
information about particular illegal activity obtained from tips, it is part of their burden of proof to
articulate this along with the veracity, reliability and basis of their inforrnant’s knowledge Like the

officers in Florz`a’a v. JL., officers’ actions in the case at bar were unreasonable They conducted a

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search that went beyond a Terry frisk relying on unsubstantiated tips with no articulable facts that
Defendant had a weapon or otherwise posed a danger to officers’ safety. Officers assert that they
observed Defendant "loitering and acting in a suspicious manner" in a known area for narcotics
trafficking Defendant asserts, however, that he was walking through a path when officers threw him
against a fence and searched him with their weapons drawn. What we do know for certain is that
officers found nothing from their frisk and search of Defendant’s interior pockets. The activities of
Defendant on the day in question and the generalized information about Defendant’s reputation as
a drug dealer were insufficient to establish reasonable suspicion for the frisk and subsequent search.
However, since the officers frisk and clothing search yielded nothing, they were obligated to allow
Defendant to continue his journey unimpeded

Assuming arguendo that the officers had reasonable suspicion for a temporary stop and frisk,
a constitutionally valid "frisk“ occurs when a police officer conducts a cursory search. This should
be "confined in scope to an intrusion reasonably designed to discover guns, knives, clubs, or other
hidden instruments for the assault of the police officer." Terry v. th`o, 392 U.S. l, 29 (1968)
(pennitting an investigative stop and a frisk for weapons); Mr'nnesota v. Dr`ckerson, 508 U.S. 366,
373 (1993) (statin g that frisks may be used only to find weapons, not to gather evidence). The police
found no incriminating evidence from the frisk. There was no articulable suspicion of any other
illegal activity, thus, there Was no basis for detaining Defendant or for conducting a residential
search.

Likewise, assuming arguendo that there was a concern about officer safety, once Defendant
was patted down and no weapons or contraband found Defendant should have been permitted to
proceed on his way. lnstead, Defendant alleges that officers took a set of keys and money from his

pocket and threw the contents on the ground Like the officer in Sibron who reached in defendant’s

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pocket in search of drugs, the officers in the case at bar went beyond the scope of a Terry pat and
frisk when they entered Defendant’s pockets This constituted a search beyond the parameters of
Terry and in violation of Defendant’s legitimate expectation of privacy under a Katz analysis

For the above reasons, this Court holds that the officers’ actions amounted to the sort of
evidentiary search that Terry expressly refused to authorizel See Terry, 392 U.S. at 26, and that the
Supreme Court has condemned in subsequent cases. See Michz`gan v. Long, 463 U.S., at 1049, n. 14
(1983); Sr'bron, 392 U.S. at 65-66 (1968).
III. The "Purged Taint" Doctrine

The question presented is whether the connection between the police officer’s
unconstitutional search and Defendant’s subsequent confession and consent search were "so
attenuated as to dissipate the [primary] taint." See Nardone v United States, 308 U.S. 338, 341
(1939). ln resolving questions of attenuation, courts typically scrutinize the facts of the individual
case, with particular attention to such matters as the "temporal proximity" of the official illegality
and the discovery of the evidence, “the presence of intervening circumstances," and “the purpose and
flagrancy of the official misconduct." Brown v. filinois, 422 U.S. 590, 603-604 (1975). Unless an
exception is sufficiently established society’s interest in excluding "fruits of the poisonous tree"
evidence despite their probative value shall be upheld See Ia'. at 599-60; Wong Sun v. Unfted Srares,
371 U.S. 471, 486 (1963). One exception to the requirements of both a warrant and probable cause
(and presumptively, reasonable suspicion) is a search that is conducted pursuant to consent.
Schneckloth v. Bustamonte, 412 U.S. 418, 149 (1973); Um'ted Stales v. Drayton, 536 U.S. 194, 207
(2002) (for the proposition that consent may be relied upon in place of reasonable suspicion).

The idea behind the purged taint doctrine is that if enough additional factors intervene

between the original illegality and the final discovery of the evidence, the link between the two is

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so tenuous that the exclusionary rule should not be applied ln Wong Sun v. Um'ted Srares, the
defendant was arrested without probable cause, arraigned and released on his own recognizance.
Wong Sun, 3 71 U.S. at 475. Several days later, the defendant voluntarily traveled to the police station
where he received Mimnda warnings and made an incriminating statement Id. at 476. The Court
held that the statement could be introduced against defendant, despite the statement’s derivation
from an original illegal seizure, because several days had passed between the initial illegality and
the statement Additionally, the Court found that the voluntariness of his returning to the police
station to make the statement made the connection between the taint and the verbal evidence too
attenuated ln the case at bar, in the time between the illegal seizure and the "consent", Defendant
is alleged to have volunteered to have allowed officers to search the uncle’s room within minutes
of the officer’s illegal act in searching for incriminating evidence outside the scope of the
constitutional Terry frisk. Plaintiff asserts that the officers engaged in "small talk approximately 4
to 5 minutes" after the frisk and search. This consensual conversation, subsequent to an illegal
seizure, does not constitute consent to a subsequent search.

Officers assert that soon after this Defendant consented to their accompanying him to the
rooming house to conduct a search and told them where guns were located before unlocking the door
to enter the apartment Officers presented Defendant with a consent to search form. There is an issue
of whether the appropriate room number was noted on the consent forrn, and when the consent form
was actually executed The testimony was that officers had to go back downstairs to get a clipboard
on which to have Defendant sign the consent forrn. ln the narrative on direct examination there was
no testimony about Defendant executing the consent form prior to the trio proceeding up to the
rooming house The Court finds that the testimony of the officers is not credible on this point and

that the written consent was executed after the search and seizure of the weapons Further, the Court

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finds that, after the Terry frisk and the clothing search, Defendant was seized and not free to leave
Notwithstanding, Defendant was not advised of his right not to consent or object to the search. Thus,
the consent was invalid

Assumin g arguendo that the officers obtained a valid verbal consent, the question is whether
the alleged statement constituting consent purged the taint of an illegal detention as argued in the
alternative by the United States. The Court finds that any alleged verbal consent made after an illegal
search and seizure was not sufficiently attenuated in view of the temporal proximity between the
initial illegal search and seizure, the domineerin g police actions and presence, and the absence of any
intervening circumstances See United Stares v. Torres, 274 F.Supp. 2d 146, 157 (2003). The initial
taint was not purged

Defendant asserts that an officer later advised him of his Mr`randa rights. Subsequent
Mtranda warnings, per se, cannot always make an act of` confession sufficiently a product of free
will to break, for Fourth Amendment purposes, the causal connection between an illegal search and
seizure and subsequent inculpatory statements resulting in the discovery of evidence See Brown,
422 U.S. at 601. ln order for the causal chain between an illegal search and statements made
subsequent thereto to be broken, it is required not merely that statements meet Fif`th Amendment
standard of voluntariness but that it be sufficiently an act of free will to purge the primary taint. ln
light of the over breadth of officer’s conduct in the initial investigatory stop, any verbal consent
Defendant may have made prior to the subsequently executed written consent is deemed an

insufficient voluntary act of free will. The Court holds that the doctrine of attenuation does not apply.

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IV. Conclusion

For the above reasons, this Court holds that the officers actions in this matter amounted to
the sort of evidentiary search that Terry expressly refused to authorize and that the taint of the illegal
seizure was not purged upon officer’s subsequent invalid consent and seizure of Weapons found in
Defendant’s possession Defendant’s motion to suppress evidence obtained as a result of illegal
search and seizures is GRANTED.

lT lS SO ORDERED this EQQA day 0 , FUW{ZOOS

 

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This notice confirms a copy of the document docketed as number 45 in
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Honorable Bernice Donald
US DlSTRlCT COURT

